Case 1:24-cv-00575 ECF No. 1-1, PageID.6 Filed 06/03/24 Page 1 of 28
                Case 1:24-cv-00575 ECF No. 1-1, PageID.7 Filed 06/03/24 Page 2 of 28


                                                                 OlgkrEl - Con                                         zrd co!, - Plaintj(
  Arg(ovcd, SCAO                                                 1d coy, - Dstrdar{                                    3rd copy - Rstlm

          STATE OF IIICHIGAN                                                                                               CASE NO.
                          JUDICIAI OISTRICT                                                                74- t4-.ji tsz)            4Z
                                                                     SUMMONS
8TT                        JUDICTAL CIRCUIT
MONTCALM                            catlJxTY
Court ddrs6r                                                                                                                                 telephorB na
631 North Srarc st., StaDto!, MI48888                                                                                              (989) 831-7559

Piar{flts oarE ddless. arid trrephqor no,                                                       narre.
JOANN BECK PATRICK BECI( ESTATE OF LEE ARTHUR                                       MOIrrCAI-]VICOLNIY, 63t Nad! Stalc St., Statrlotr MI
BOWSER by aselglEe. SRRltlA BOI ISER, ESTATE OF VlltLl,AM
oUMIG{ DINGI AN. by PeJsofld R€pr6antuttvo. MICIBE-
                                                                                    4Ett8
DINGUAN. TROY AND TARDA EI'\AIARDS, AOBBY JONES. lNd
ROMID D. MCCPACKEN                                                                  sDd
ob YI'_Eer.nd Associabc, PLLC
Fiem. anomey,E;ior.dr€sldi6k tdE no.                                                JOANNB WKIN, 2l I lvcs! Msh St., Stsntoq MI 4t8E8
Doaatd l- Visser (P27961)
YISSER AND AsSoclATES, PIIC
1480 ,14& SE€€t SE Suitc I 50
Kcotroo4 MI 49512
(6 r 6) 53 r -9860

lo3tructtoni: Chcck l}|e itorE belot,v thst apply lo yo! ard pn'ytlh 8ny rDqlrfod Hc(mslrm. Subml thE fo(m b tl. coun dcfi ltong ${h ,ti/r comPlainl and.
lf nacsrrlry, t case lnvefltory Eddendum (Mc 21). The suntrnrls r€dion will be co[plobd by tlE ooutl chrL


Dom€stic Relations CasB
D There are no pendirE or resolved cases lvithin the jurisdirion of the famiv division of tha circuit cotst iovoMng lh€ fami,y or
      family members of the pe$m(s) who ar€ the subiecl d th€ complainl
D TtEre is one or more pending or resolved cases withln the jurMidion cf the family divislon of the citcuil court invoMng
  th6 hm[y or ,amily members of lhe person(s) who are the subjeat of the trnplaint I ha\€ separately filed a completed
      codidential caso lnvantory (MC 21) lisung those cages,
D I is unknou,rn It therc are pending or resolved csses within th€ jurisdLtion qf the famiry division ofthe circuit court involving
      th€ famity or tamlly mcmbers of tho person(s) who sre the subied of the @rnPlainl

CiYll Caso
D This b a business case in vrhich all or part of th. adlon indudes a busine3s or cor nercial dBpute under MCL 600.8035.
f] MDHHS and a contraded health plan may have a right to llcovar clpcn3os ir thb c8se. I ce]ffy thd notica and a copy of
      the comptaint witl be provided to MDHHS and (itapplicabL) th6 contrEded heallh plan in accords0ce with MCL 400.106(4).
D There is no othsr pendlng or resolved civil action arising out oftho 6ame Eensatflon or occurGncc as all6gad in thB
      csnplsint.
0 e ciU acficn netween these parlk= or otier p6rti= ariEing od of the transadion or occun€nc€ allegod in lh€ complai has
      b€en pra/iously tiled   in E thB courl D                                                                                           court \flhera
                                    2r-K-2148012                                                  Sranne H ose(h-KrEcgd
      it uras glven case number                                      and assigned to Judge

      Ths adnxl EJremains Dis no longer pcndng,

SumnriS rldron corl9€trld by cautl defi.                             SUMMONS

NoTlcE TO THE DEFETIDANT: ln the name of th€ p.opls d th€ Slah d MicilgEn you are notiied:
1- You sIe being sued.
2. YOU HAVE 21 OAYS aner receiving this surn norB and a copy of the unplaint lo flle a wrltten .nst er wltt the co rt
   and serve a copy oal the other party or tako ott6r hwful action witi the court (28 days if you vvere ssrved by mail or you
      were seffad outside of MichiJan).
3, if you do nol answcr or .|ake other ac{ion within t}le tirE albl,yed, jrrdgnE rt may be entered against you for ths relief
      demanded ln the comFlaint
4 lf you rcquira accommodations to usa the court bBcg$e of a dsabiliy or if y(,J require a foreign language interpreter
      to help        tu   participale in court proc66dings, ploasr contec.t the cDurt immediately to make anangements
lssue dale                           ExDldim dah'                  Court cl.rk
          3ir--\1crx                     (Jl ir>l13 Lq                                  CD KRISTEN MILI3RD
                                 se/vea on or                                         ml6! 5e                         a+.rl,

rac   fi cJr23) SUI{MONS                                                               MCR ! .109(q, ncR 2.102(8), [rc8 z1 03. McR z I 04. McR 2.1 05
             Case 1:24-cv-00575 ECF No. 1-1, PageID.8 Filed 06/03/24 Page 3 of 28




                                                                                                Caio No. 2+
                                                                                                                 h-.3 i t 5s   -cz
s ummorE (3.1231




                                                     PROOF OF SERVICE

TO PROCESS SERVER: You muEt serve tha summons and cornplaint and tile Prool of serYics wth lhe coun
                                                                                                             clerk betore
                       lhe summons. lf you are unable to complelo sarvlce, you must refum thig otjginal and all copies lo
the expiralion date on
the coutt clefk,

                                            CERNFICATE OF SERVICE           NONSERVICE
                                                                        '
D t served E personaly Eby registered or cedified maf,. retum rec€ipl ]Bquest6d, ard delivtsry restdcted to the
  the ddresae (copy ot raum recip ittactreO; a copy of tle summns and the conplair , @ether with the
     attacflments lisEd bel(nlv, on:

n I have a6empted to serve a copy oftha Bummons and complainl, togelh€f wilh the attacimenls lisled belo{v, and have
     been unable to complele service on:

 Neme                                                                                  oate ara trnre ofErvice



        or gcrdiEsl cf



                  any)




E I am a streriff, deptrty sherifi, balifi. appohted court fficer or attorno/ lbr a party.
D I anr a legally competent adult who is not a party or an offce. of a corPorata party. I dcchr. urd€r ths penalties of
  petury tnif f,rls c*tincab of sewke hss been examined by me dd that tts contentrB ars true to th6 besl of nry
     in{ormrtion, knolledge, and belEL


 Sdvic.Lr                MilB iravded Fee                                      Signalu.e

 3                                     l3
 lrErsd addrssr ac       Miler rsvetcd Fe.              IEfAL FEE
                                                                               Narlle (type   r prin)
 s                                     Ir               lr

                                               ACXNOWLEDGMENT OF SEFSflCE

 I acknolyledgo that I harre recei\€d servio€ of a coPy of the summonE and complaint, togEthor with

                                                                              on
 Alta.ime.lt6 (if anY)                                                             Date ar# tirne


                                                              on behall of
 Srgnalurc


 NE ne (fype or p.ho




MC1600.1910, McR 2.',|04. MCR 2.104
I
       Case 1:24-cv-00575 ECF No. 1-1, PageID.9 Filed 06/03/24 Page 4 of 28




                                  STATE OF MICI{ICAN

                  IN TFIE CIRCUIT COURT FOR THE 8'h CIRCLIIT COURT,
                               COUNTY OF MONTCALM



    JOANN tsECK, an          individual;
    PATRICK BECK, an individual;
    ESTATE OIT LEE ARTHUR BOWSER,
    by assigncc, SERRINA BOWSER;                CaseNo.24-(r- $ it55 -gg
    ESTATE OF WILLIAM CLINTON                            gUZICNNE HOSETH KREEGER F42238
    DINGMAN. by Personal Representative,        I.ION.
    IVIICHAEL DINGMAN; TROY AND
    MARDA EDWARDS, a married @uple;
    BOBBY JONES, an individual;
    RONAID D. MCCRACKEN, an                     COMPLAINT
    individual,
                                                (JURY DEMAND)
                   Plaintill-s,

    -vs-

    MONTCALM COUNTY, A
    Govemmental Unit; and JOANNE                               ATFI - r;1'py
    VUKIN, in her individual and official                             .-itl to*O(.r
    capacity,
                                                       CLCRK     lrot,i '-11'.rcouNTY
                   De fcndants.
  Case 1:24-cv-00575 ECF No. 1-1, PageID.10 Filed 06/03/24 Page 5 of 28




Donald R. Visser (P27961)                Philip L. Ellison (P74117)
Daniel O. Myers (P49250)                 OUTSIDE LEGAL COI.]NSEL, PLC
Donovan J. Visser (P70847)               Attorneyfor Plaintiffs
VISSER AND AS SOCIATES, PLLC             PO Box 107
A tt orney s for P I a intiffs           Hemlock, lvn 48626
2480 - 44th Street, S.E., Suite 150      (989) 642-00s5
Kentwood, M749512
(616) 531-9860

E. Poweli Miller (P39487)                Matthew E. Gronda (P73693)
Christopher D. Kaye (P61918)             GRONDAPLC
Sharon S. Almonrode (P33938)             A t t orney for P I a in t iffs
THE MILLERLAWFIRM, PC                    4800 Fashion Square Blvd, Suite 200
A tto rney s for P I a intiffs           Saginaw, MI 48604
950 W. University Drive, Suite 300       (989) 249-0350
Rochester, MI 48307
(248) 841-2200




                                COMPLAINT
      COME NOW, Plaintiffs JOANN BECK, PATRICK BECK, ESTATE OF

LEE ARTTILIR BOWSER, by assignee, SERRINA BOWSER, ESTATE OF

WILLIAM CLINTON DINGMAN, by Personal Representative, MICIIAEL
DINGMAN, TROY AND MARDA EDWARDS, BOBBY JONES, ANd RONALD

D. MCCRACKEN (collectively "Plaintiffs") by and through counsel, and for

Plaintiffs' cause of action against Defendants MONTCALM COTINTY and

JOANNE YUKIN (collectively "Defendants"), state as follows:
  Case 1:24-cv-00575 ECF No. 1-1, PageID.11 Filed 06/03/24 Page 6 of 28




                                INTRODUCTION

      I      This is a case of gross govenrmental abuse that cries out for a remedy

The County has illegally seized property in the form of excess/surplus equity from

private citizens without any compensation at all.

      2.     The abuse stems from the Defendant Montcalm County's tax

foreclosure process. Michigan law generally authorizes counties to foreclose on

parcels to satisfi outstanding unpaid property taxes. But Defendant Montcalm

County and its officials abuse this process. They do not foreclose on the parcel, sell

it, keep the amount ofthe outstanding taxes plus reasonable fees, and retum the rest

to the propedy owner. Rather, they foreclose, sell the property at a reduced amount,

and keep all of the proceeds and excess/surplus equity for themselves. As a result,

property owners lose the entire value of their property, which is often orders of

magnitude more than the outstanding tax bills.

      3.     As set forth below, this constitutes a violation of the Fifth, Eighth, and

Fourteenth Amendments of the United States Constitution; a violation of Article X

Section 2 of the Michigan Constitution; and an impermissible inverse condemnation

under Michigan law.r




I Plaintiffs acknowledge that some courts have dismissed certain claims when they
were previously pled in another case, e.g., Grainger, Jr. v. Cnty. of Onawa,No.
 l:19-CV-501, 2021WL790771(W.D. Mich. Mar. 2,2021). Where indicated in
this Complaint, Plaintiffs are raising certain claims against Defendant here to
                                          3
    Case 1:24-cv-00575 ECF No. 1-1, PageID.12 Filed 06/03/24 Page 7 of 28




                                       PARTIES

       4.      Each Plaintiff owned property in Montcalm County which suffered a

tax foreclosure and equity seizure as set forth on Exhibit A.

       5.      Defendant MONTCALM COLINW (the "County") is named as a legal

entity formed and/or existing under the laws of the State of Michigan and is

controlled or operated by a duly designated Board of Commissioners.

       6.      Defendant JOANNE VLIKIN (the "Treasurer") was and is a public

official serving as county treasuer for Montcalm County.

       7   .   The County and/or Treasurer is a Foreclosing Govemmental Unit by

the affirmative, voluntary, and discretionary decision of each respective county as

its own county policy pursurmt to MCL $211.78.2


                                   JI]RISDICTION
       8       This is a civil action brought seeking, among other relief, rurpaid "just

compensation" and other monetary damages against Defendants for violations of




preserve appellate rights and in tight of the United States Supreme Court's decision
inTylerv. Hennepin Cnry., Minnesot42l5L.Ed.2d564,143 S' Cl 1369 (2023).
2
  Plaintiffs acknowledge that some courts have dismissed claims against individual
treasurer defendants. See, e.g., Grainger, szpra. Plaintiffs are raising these claims
here to preserve appellate rights, and because, notwithstanding these same courts
holding that a claim against the counties was viable, some counties have argued
that claims against the counties must be dismissed because their treasurers are the
only viable defendants. See Fingal et al. v. Ontonagon County e/ a/., Case No.
2:23-cv-00067 (W.D. Mich., filed Mar, 31,2023) (ECF No. 27, PageID.856).
                                            4
     Case 1:24-cv-00575 ECF No. 1-1, PageID.13 Filed 06/03/24 Page 8 of 28




Article 10 of the Michigan Constitution and the Fifth, Eighth, and Fourteenth

Amendments of the United States Constitution.

        9.      This court has jurisdiction pursuant to MCL $600.601(l), MCL

$600.660s, and MCL $ 600.151.

        10. Venue is proper in this County pursuant to MCL $ 600.1615, MCL $
600.1621(a), and MCL $ 600.1627 because Defendants, collectively, conduct or

have conducted business in Montcalm County, and the Subject Properties involved

are physically located within Montcalm County. Moreover, the Defendants are either


a municipal unit of govemment located in the County or were an officer of that

municipal unit.


                             GENERALALLEGATIONS
I.      Michigan's Tax Foreclosure Process

        1   1. Like many states, Michigan provides for the taxation of real property
in order to finance local govemments such as counties, municipalities, and school

districts and the collection ofdelinquent taxes.

        12. The Defendants administer a foreclosure-and-auction process
generally, so that after they sell a parcei at auction (often for less than its fair market

value), they retain the entire amount of proceeds. Furthermore, even if the sale

proceeds exceed the amount ofthe delinquent taxes and far exceed the tax bill, they




                                            5
t
          Case 1:24-cv-00575 ECF No. 1-1, PageID.14 Filed 06/03/24 Page 9 of 28




    do not retum any of the excess to the property's former owner or provide

    compensation for that portion ofthe Equity destroyed by underselling the parcel.

             13. As used in this Complaint, "Tax Delinquency" means the past due tax
    owed and certain prescribed fees; "Equity" means the amount by which a property's

    value exceeds its Tax Delinquency; "Surplus" means the difference between (a) the

    sale proceeds ofthe property, and O) the past due tax and certain prescribed fees.

    II.      The Foreclosure ofthe Plaintiffs' Property and Seizure ofthe Surplus
             and/or Equity

             14. Plaintiffs were the owners of the Subj ect Properties located within
    Montcalm County, Michigan as shown on Exhibit A.

             15. As ofthe date the property was sold at auction, each Subject Property
    accrued a Tax Delinquency as shown on Exhibit A.

             16. On or around the Date of Foreclosure as shown on Exhibit A, the
    Treasurer seized ownership of the Subject Property on behalf of the County as its

    duly elected treasurer.

             17   .   At all times relevant, the Defendants acted pursuant to a uniform policy,

    custom, and practice of seizing real property as discussed below.

             18. As of the date of the seizure, each Subject Property had a State
    Equalized Value ("SEV") as shown on Exhibit A. Given that the Fair Market Value

    ('FIvfV') of a property is at least twice the amount of its SEV, the govemment would



                                                   6
    Case 1:24-cv-00575 ECF No. 1-1, PageID.15 Filed 06/03/24 Page 10 of 28




have known or should have known that the Subject Property had a Minimum FMV

as shown on Exhibit A.

        19. On behalf of the County, the Treasurer sold the Subject Property at a
tax auction and conveyed the Property for a Sales Price as shown on Exhibit A.

        20. Thus, the difference between what the Plaintiffs owed as a Tax
Delinquency and what the County received for each Subject Property ("Surplus

Proceeds") was as shown on Exhibit A. The Minimum FMV Less Tax Delinquency

for the Subject Property was as shown on Exhibit A.3

        21. The County and the Treasurer seized this Surplus and/or Equity from
each Plaintiff by foreclosing the Subject Property, selling it at auction for an amount

much lower than its fair market value, but still more tJtan the Tax Delinquency, and

failing to retum any of the Surplus and/or Equity to Plaintiffs.

       22. None of the Defendants retumed the Surplus and/or Equity to any
Plaintiff or afforded any Plaintiff any process, plan, or legal mechanism to seek or

achieve the retum ofthe Surplus and/or Equity they seized.




3
  Plaintiffs acknowledge that this valuation of lost equity may be affected by Freed
v. Thomas,81 F.4th 655 (Sixth Cir.2O23). But even followingFreed,and
assuming that lost equity is defined as the Surplus Proceeds - the difference
between the auction price and the outstanding Delinquent Tax - Plaintiffs had at
least the amount of the Surplus Proceeds as shown on Exhibit A in lost equity in
the Subject Properties at the time of the foreclosure and sale.
                                           7
  Case 1:24-cv-00575 ECF No. 1-1, PageID.16 Filed 06/03/24 Page 11 of 28




       23. Thus, Defendants took or destroyed the Plaintiffs' Surplus and/or
Equrty in the Property.

      24. To this day, Defendants are holding onto Plaintiffs' Surplus and Equity,
even though they know that Plaintiffs have a propefiy interest in at least the Surplus

and that Defendants are obligated to return it to Plaintiffs.

      25. Defendants refused and continue to refuse to pay just compensation for
Plaintiffs' Surplus and/or Equity in the Subject Property. The Defendants also have

failed to provide any mechanism at all for any such compensation.

      26. No Defendant initiated any condemnation action or process for the
Plaintiffs' Surplus and.ior Equity in the Propefty.

uI. The Conduct at Issue llere Reflects County Policy
    27. The actions described herein are a voluntary policy, custom, and/or
practice of the County and/or its final policymaker.

      28. This voluntary policy and/or practice of the County and/or its final
policymaker is sufficient to impose damages and other relief pursuant to Monell v.

New YorkCity Department of Social Semices,436 U.S. 658 (1978), and its progeny.

      29. Specificatly, the Couty made the affrmative, voluntary, and
discretionary decision to select and designate itself and/or its treasurer to act as the

Foreclosing Govemmental Unit (*FGLI).




                                           8
  Case 1:24-cv-00575 ECF No. 1-1, PageID.17 Filed 06/03/24 Page 12 of 28




       30. Moreover, the County, either through legislative enactment of laws or
regulations, official agency or govemmental entity policy, and/or actions taken by

an official or officials with final decision-making authority has administered the

County's foreclosure and auction process generally, including MCL $ 211.78m(8),

so that after the County sells a parcel at auction, the County retains the entire amount


of the proceeds, even if the proceeds exceed the amount of the Tax Delinquency,

and never returns anything to the property owner, nor provides any mechanism by

which the property owner can secure a retum ofhis, her, or its Surplus and/or Equity.

      31. Accordingly, the actions at issue here were undertaken pursuant to an
official county policy for purposes of Monell, 436 U.S. 658.

      32. If the General Property Tax Act, and specifically MCL $ 211.78m(8),
required or requires the practices that Plaintiffs complain of, then it is inherently

unconstitutional: if the Act requires Defendants' conduct as set forth herein, then,

the Act violates the Michigan and United States Constitutions for all of the reasons

that Defendants' conduct violates them.

      33. The actions of Defendants were designed to intentionally or wantonly
cause harm to Plaintiffs due to the utter disregard of Plaintiffs' constitutionally

protected rights.




                                           9
  Case 1:24-cv-00575 ECF No. 1-1, PageID.18 Filed 06/03/24 Page 13 of 28




                                      COUNT I
               TAKING - FIFTII/FOI]RTEENTH AMENDMENT
                        VToLATION 42 USC S 1983
                     (AGAINST ALL DEFENDANTS)

       34. The prior paragraphs are restated word for word herein.
      35. This claim is being made against all Defendants pursuant to 42 U.S.C.
$ 1983 and $ 1988.

      36. The Fifth Amendment, made applicable to the states via the Fourteenth
Amendment, is a constitutional provision and right requiring the payment of just

compensation upon a taking by Defendants. See Knickv. Twp. ofSco#, 139 S. Ct.

2t62 (2019).

      37. Defendants have taken Plaintiffs' property interests in the form of their
Surplus and/or Equity - that is, the value of the Property to the extent it exceeds the

Tax Delinquency - and have appropriated this property for public use without the

payment ofjust compensation in violation of the Fifth and Fourteenth Amendments

to the United States Constitution.

      38. Defendants have refused to take any action for the payment of just
compensation for their seizure of the Surplus and/or Equity from the Plaintiffs.

      39. By Defendants' refusal to take any action for the payment of just
compensation at the time of the taking, Defendants have deprived Plaintiffs of the

constitutional right to just compensation in violation of the Fifth and Fourteenth

Amendments to the United States Constitution.

                                          10
    Case 1:24-cv-00575 ECF No. 1-1, PageID.19 Filed 06/03/24 Page 14 of 28




        40. The taking ofPlaintiffs' property also violates 42 USC $ 1983 and 42
USC $ 1988. Plaintiffs are entitled to all relief provided by these statutes.

        41. Defendants have not paid just compensation.
       42. Defendants will not now pay just compensation.
        43. Defendants do not intend to pay just compensation in the future.
        44. Plaintiffs have been injured and have suffered damages.

                            COTINT tr4
       TAKTNG - FIFTII]FOURTEENTH AMENDMENT VTOLATION
        "ARISING DIRECTLY" UNDER THE FIFTH AMENDMENT
                    (AGAINST ALL DEFENDANTS)

        45. The prior paragraphs are resta,ted word for word herein.
        46. This claim is being made against all Defendants under the Fiffh
Amendment directly.

       47. The Fifth Amendment, made applicable to the states via the Fourteenth
Amendment, is a self-executing constitutional provision requiring the payment of

just compensation upon the takings undertaken by Defendants.

       48. Defendants have taken Plaintiffs' property interests in the form of the
Surplus and/or Equity - that is, the value ofthe Property to the extent it exceeds the

Property's Tax Delinquency - and have appropriated this property for public use



4
  Plaintiff acknowledges that some courts have dismissed this claim when it was
previously pled. See, e.g., Grainger, supra. Pluntiff makes the claim here in order
to preserve appellate rights and in light ofthe right to plead in the alternative.
                                          11
  Case 1:24-cv-00575 ECF No. 1-1, PageID.20 Filed 06/03/24 Page 15 of 28




without the payment ofjust compensation in violation of the Fifth and Fourteenth

Amendments to the United States Constitution.

       49. Defendants have refused to take any action for the payment of just
compensation for their seizure ofthe Surplus and/or Equity from the Plaintiffs.

      50. By Defendants' refusal to take any action for the payment of just
compensation at time of the taking, Defendants have deprived Plaintiffs of their

constitutional right to just compensation in violation of the Fifth and Fourteenth

Amendments to the United States Constitution. Thus, the violation can be remedied

by a direct claim under the Fifth Amendment.

      51. Defendants have not paid just compensation.
      52. Defendants will not now pay just compensation.
      53. Defendants do not intend to pay just compensation in the future.
      54. Plaintiffs have been injured and have suffered damages.

                              COUNT Iu
               STATE LAW - II{VERSE CONDEMNATION
           (AGAINST DEFENDAIIT COT]NTY AND TREASURER
                    IN AN OFFICIAL CAPACIT'T)

      55. The prior paragraphs are restated word for word herein.
      56. Defendants have taken Plaintiffs' property interests in the form of
Surplus and/or Equity - that is, the value of the Property to the extent it exceeds the




                                          12
  Case 1:24-cv-00575 ECF No. 1-1, PageID.21 Filed 06/03/24 Page 16 of 28




Property's Tax Delinquency - and have appropriated this property for public use

without the payment ofjust compensation.

      57. Defendants have done so without using any direct condemnation
processes, including those outlined under the Uniform Condemnation Procedures

Act, MCL 213.51, et seq.

      58. Defendants have not and will not provide Plaintifls any opportunity to
claim the Surplus and/or Equity in the Properly after the seizure and/or later sale of

the Property, nor did Defendants provide or have a process for Plaintiffs to claim

compensation at the time the Defendants seized title to the taken property interests.

      59. Defendans have not paidjust compensation.
      60. Defendants will not now pay just compensation.
      6l .   Defendants do not intend to pay just compensation in the future.

      62. An inverse condemnation with damages has occurred.
      63. Plaintiffs have been injured and have suffered damages.

                          COUNT TVs
      STATE LAW-VIOLATION OF MICHTGAN CONSTTTUTION
                     ARTTCLE X, SECTION 2
         (AGATNST DEFEITDANT COI'NTY AND TREASURER
                  IN AN OFFICIAL CAPACMT)
      64. The prior paragraphs are restated word for word herein.

, Plaintiff acknowledges that some courts have dismissed this claim when it was

previously pled. See, e.g., Grainger, szpra. Plaintiffmakes the claim here in order
                                         l3
  Case 1:24-cv-00575 ECF No. 1-1, PageID.22 Filed 06/03/24 Page 17 of 28




      65. Defendants have taken Plaintiffs' prope4y interests in the form of
Surplus and/or Equity - that is, the value of the Properly to the extent it exceeds the

Property's Tax Delinquency - and have appropriated this property for public use

without the payment ofjust compensation.

      66. Defendants have done so without using any direct condemnation
processes, including those outlined under the Uniform Condemnation Procedures

Act, MCL $ 213.51, et seq and in violation of Article X, Section 2 of the Michigan

Constitution.

      67. Defendants have not and will not provide Plaintiffs any opporrunity to
claim the Surplus and,/or Equity after the seizure and"/or later sale of the Property,

nor did Defendants provide or have a process to claim compensation at the time the

Defendants seized title to the taken property interests.

      68. Defendants have not paidjust compensation'
      69. Defendants will not now pay just compensation.
      70. Defendants do not intend to pay just compensation in the future.
      71. Where the Subject Property was a Plaintiffs principal residence, that
Plaintiff is entitled to compensation equaling 125 percent of the property's fair

market value under Article X $ 2 of the Mchigan Constitution.




                                                                            'tn
to preserve appellate rights and in light of the Sixth Circuit's decision         Hall v.
Meisner,5l F.4th 185 (6th Cir-2022).
                                           14
    Case 1:24-cv-00575 ECF No. 1-1, PageID.23 Filed 06/03/24 Page 18 of 28




       72. Plahtiffs have been injured and have suffered damages.

                           COUNT V6
        vroLATroN oF THE EIGHTH  AMENDMENT 42 USC $ 1983
                   (AGAINST ALL DEFENDANTS)

       73. The prior paragraphs are restated word for word herein.
       74. This Count is pled to the extent that Defendants argue or assert that
Plaintiffs "forfeited" or, as it is sometimes described, "relinquished" property

pursuant to the Act.

       75. The Eighth Amendment to the United States Constitution is the part of
the United States Bill of Rights prohibiting the government from imposing excessive

fines, which the US Supreme Court has applied to action(s) involving forfeitures.

       76. The Fourteenth Amendment applies the Eighth Amendment to states
and state actors such as Defendants.

       77   .   By imposing and retaining an excessive fine in the form ofthe forfeiture

of value of the Surplus and/or Equity interest in Property in excess of the tax

delinquency, Plaintiffs' Eighth Amendment righs have been violated. See Austin v.

United States, 509 U.S. 602 (1993).




6
  Plaintiff acknowledges thal some courts have dismissed this claim when it was
previously pled. See, e.g., Grainger, supra. Planntiff makes the claim here in order
to preserve appellate rights and in light of the Supreme Court's decision tn Tyler v
Hennepin Cnty., Minnes ota, 21 5 L. Ed. 2d 564, I 43 S. Ct' 13 69 (2023).
                                            15
  Case 1:24-cv-00575 ECF No. 1-1, PageID.24 Filed 06/03/24 Page 19 of 28




        78. Defendants' retention of the Sulplus and/or Equity, which by definition
is exclusive of the Tax Delinquency, is punitive and not remedial.

        79. The conduct of Defendants was reckless and undertaken with complete
indifference to Plaintiffs' federal rights to be free from violations of the Eighth

Amendment to the United States Constitution.

        80. Said actions violate the Eighth Amendment to the United States
Constitution and are remedied by a money judgment against Defendants pursuant to

42 U.S.C. $ 1983 and $ 1988.

        81. Plaintiffs have been injured and have suffered damages.

                                     COUNTYI
        42 USC $ 1983 - VTOLATION OF PROCEDURAL DUE PROCESS
                        (AGAINST ALL DEFENDANTS)

        82. The prior paragraphs are restated word for word herein.
        83. The Fourteenth Amendment guarantees procedural due process to
Plaintiffs.

        84. Plaintiffs have a Constitutionaily protected property interest in the
Surplus and/or Equity ofthe Property.

        85. Defendants have denied Plaintiffs these rights by failing to provide any
procedure at all for Plaintiffs to secure a refund of the Surplus and/or Equity after

the Properties' sale at auction, or even after their complete seizure in anticipation of

same.


                                          16
    Case 1:24-cv-00575 ECF No. 1-1, PageID.25 Filed 06/03/24 Page 20 of 28




       86. As a direct and proximate result of the Defendants' failure to provide
adequate procedural due process, Ptaintiffs have been injured and have suffered

damages.

       87. Plaintiffs lack an adequate remedy at law except as set forth in this
Complaint.


                               COUNTVIIT
      42 USC S 1983 - \IIOLATION OF SUBSTANTIVE DUE PROCESS
                       (AGAINST ALL DEFENDANTS)

       88. The prior paragraphs are restated word for word herein.
       89. The Fourteenth Amendment guarantees substantive due process to
Plaintiffs.

       90. Defendants' conduct has deprived and is depriving Plaintifts of the
Constitutionally protected right to the Surplus and/or Equity'

       91. Plaintiffs' rights to the Subject Property, and therefore their Surplus
and/or Equity, is well established.

       92. Defendants' conduct in destroying and/or seizing Plaintiffs' Surplus
and/or Equity is arbitrary and/or shocks the conscience.




,Plaintiff acknowledges that some courts have dismissed this claim when it was
previously pled.,See, e.g., Grainger, supra. Platntiff makes the claim here in order
to preserve appellate rights and in light ofttre rigbt to plead in the alternative.
                                          17
  Case 1:24-cv-00575 ECF No. 1-1, PageID.26 Filed 06/03/24 Page 21 of 28




       93. As a direct and proxinate result of these violations, Plaintiffs have been
injured and suffered damages.

       94. Plaintiffs lack an adequate remedy at law excep as asserted in this
Complaint.


                                   COUNTVIU
                            UNJUST ENRICHMENT
                           (AGATNSTTHE COUNT9

       95. The prior paragraphs are restated word for word herein.
       96. Defendants have illegally seized the Surplus and/or Equity from
Plaintiffs.

       97. This illegal seizure has unjustly enriched the County.
       98. Under these circumstances, it is inequitable for the County to retain the
proceeds from the sale ofthe Property at auction to the extent that the proceeds from

such sale exceeded the Tax Delinquency for the Property.

       99. Plaintiffs do not have an adequate remedy at law except as asserted in
this Complaint.

       100. This unjust enrichment has injured and damaged the Plaintiffs.




                                         18
  Case 1:24-cv-00575 ECF No. 1-1, PageID.27 Filed 06/03/24 Page 22 of 28




                                    COT'NTD(
                               CONVERSION
                        (AGAINST ALL DEFENDANTS)

       101. Plaintiffs incorporate all above allegations as if fully restated herein

except for those set forth in the counts stating federal takings claims and bring this

claim as an altemative to the state and federal takings claims stated above.

       102. When the Michigan Supreme Court decided Rafaeli, LLC v. Oakland

Cnty., 505 M:.ch. 429, 952 N.W.2d 434 (2020) on July 17, 2020, it put Defendants

on notice that the Surplus, including any interest thereupon (the "Accrued Surplus")

belonged to Plaintiffs and needed to be retumed.

       103. Nonetheless, Defendants failed to retum Plaintiffs' Accrued Surplus to

Plaintiffs.

       104. Defendants' failure to tum over Plaintiffs' Accrued Surplus Proceeds

promptly - even after the Michigan Supreme Court's decision rn Rafaeli was

released   - deprived Plaintiffs of Plaintiffs' property and constitutes an act of
conversion and theft.

       105. Plaintiffs demanded the Defendants relinquish Plaintiffs' property.

       106. Further demands are excused inasmuch as such efforts would be futile.

       107. Defendants took Plaintiffs' property without Plaintiffs' consent.

       108. Defendants' continued control of P1aintiffs' property constitutes

conversion, embezz.l ement, or theft.


                                          19
  Case 1:24-cv-00575 ECF No. 1-1, PageID.28 Filed 06/03/24 Page 23 of 28




      109. Defendants' continued control over Plaintiffs' property is an intentional

act that falls outside of any govemmental function.

      110. Plaintiffs have been iniured and damaged by Defendants' actions.

                                  COUNTX
                           STATUTORY COIIYERSION
                         (AGAINST ALL DEFENDANTS)

      I I 1. Plaintifls incorporate all above allegations as if fully restated herein

except for tlose set forth in the counts stating federal takings claims and brings this

claim as an altemative to the state and federal takings claims stated above.

      112. Defendants have converted Plaintiffs' Accrued Surplus to the County's

or Treasurer's own use as contemplated by MCL $ 600.2919a.

      I13. Defendants' continued retention and control of Plaintiffs' property and
Defendants' conversion of Plaintiffs'property to the County's or Treasurer's own

use constitutes statutory conversion under MCL $ 600.2919a.

      114. As a result of Defendants' actions, Plaintiffs sustained damages.

      1I   5. State law provides that a person damaged as a result of a violation of
that law, "may recover 3 times the amount of actual damages sustained plus costs

and reasonable attomey fees." MCL $ 600.2919a. Plaintiffs, therefore, are entitled

to treble damages.

      116. Plaintiffs are entitled to trebie damages, costs, and.recovery of actual

reasonable attorney fees. MCL $ 600.2919a.

                                          20
  Case 1:24-cv-00575 ECF No. 1-1, PageID.29 Filed 06/03/24 Page 24 of 28




                                COUNTXI
                           CLAIM AI\D DELIVERY
                        (AG{NST ALL DEFENDANTS)
      117. Plaintiffs incorporate all above allegations as if fully restated herein

except for those set forth in the counts stating federal takings claims and brings this

claim as an alternative to the state and federal takings claims stated above.

      118. Defendants are holding the Accrued Surplus as defined above, which

belongs to Piaintiffs. MCR 3.105(CXl).

      119. The value of the Accrued Surplus is the Surplus Proceeds as shown on

Exhibit A, plus interest. MCR 3.105(CX2).

      120. Plaintiffs do not know precisely what Defendants have done with the

Accrued Surplus but given the fungibility of money, upon information and belief,

they believe that the Accrued Surplus is not an "independent piece ofproperty" but

rather "a portion of divisible property of uniform kind, quality." MCR 3.105(CX3).

      121. The nature of Plaintiffs' claim is set forth in this Complaint, and

Plaintiffs seek the retum of the Accrued Surplus. MCR 3.105(CX4)'


                              RELIEFREQUESTED

 WHEREFORE, Plaintiffs respectfully request this Court to:

      a.     Enter an order declaring the conduct of Defendants as being

             unconstitutional under the federal and state comtitutions, even if being

             undertaken consistent with the General Property Tax Act;


                                          2l
Case 1:24-cv-00575 ECF No. 1-1, PageID.30 Filed 06/03/24 Page 25 of 28




   b,    Enter an order for any and all damages and/or compensation as is

         deemed proper;

   c.    Enter an order disgorging the County's proceeds from the sales auction

         to the extent that the proceeds exceed the Tax Delinquency for the

         Property;

   d.    Enter an order of additional damages and/or compensation to reach an

         amount equaling 125% of the property's fair market value if this Court

         determines that private property consisting of an individual's principal

         residence was taken for pubtic use pursuant to Article X, Section 2 of

         t}le Michigan Constitution;

   e.    Enter an order for an award of interest as provided for in Kniclq

   f.    Enter an order for any and all damages available under law as

         applicable, including but not limited to ao award of nominal and

         punitive damages;

   g.    Enter an order for an award of attomey fees and expenses pursuant to

         all applicable laws, rules, or statutes;

   h.    Enter an order imposing a constructive trust upon the Surplus and the

         Accrued Surplus, and/or declaring that such a constructive trust has

         existed at least since July 17 ,2020;




                                       22
a
      Case 1:24-cv-00575 ECF No. 1-1, PageID.31 Filed 06/03/24 Page 26 of 28




         i.     Enter an order awarding treble damages and attomeys' fees under MCL

                $ 600.2919q

         j.     Enter an order requiring the retum of the Accrued Surplus to Plaintiffs

                because it is Plaintiffs' property and Defendants are illegally possessing

                it;

         k.     Enter an order for restitution; and

         l.     Enter an order for all such other legal and equitable relief which the

                Court deems proper.


                                    JTIRYDEMAND

    For all triable issues, a trial by jury is hereby demanded.


                                                  VISSER AND ASSOCIATES, PLLC


    Dated: March 22,2024

                                                  Daniel O. Myers (P49250)
                                                  Donald R. Visser (P27961)
                                                  Couruelfor Plaintffi




                                             23
Case 1:24-cv-00575 ECF No. 1-1, PageID.32 Filed 06/03/24 Page 27 of 28




                                     Joann Bec\ et al v Montcalm County, et aI

                                                   Case No.   24-         -CZ




               E,XHIBITA
                      To Plaintiffs' Complaint
         Case 1:24-cv-00575 ECF No. 1-1, PageID.33 Filed 06/03/24 Page 28 of 28




             eE
                 8
                                 I8            E



     s3E
                                               Q




                                     8
     ';a ?

                                     e
      >g

                  8         8.
F
z
J

                                     9         8
U
        z                                      4
F
IA




                                     i

                                          E    €
             .! E
                                          Q
                                     ui
             a                            ri
                  ;         z


                       ,d



                                 o
                       6
                       .o
                                 U
                                          .E


                       .S        >             ci
         E        ao

              q
                       E
